UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x
Uniformed Fire Officers Association; Uniformed
Firefighters Association of Greater New York; Correction
Officers’ Benevolent Association of the City of New York,
Inc.; Police Benevolent Association of the City of New                      No.: 20-Civ.-05441-KPF
York, Inc.; Sergeants Benevolent Association; Lieutenants
Benevolent Association; Captains Endowment Association;
and Detectives’ Endowment Association,

                                              Petitioners/Plaintiffs,
                             - against -
Bill de Blasio, in his official capacity as Mayor of the City
of New York; the City of New York; Fire Department of
the City of New York; Daniel A. Nigro, in his official
capacity as the Commissioner of the Fire Department of the
City of New York; New York City Department of
Correction; Cynthia Brann, in her official capacity as the
Commissioner of the New York City Department of
Correction; Dermot F. Shea, in his official capacity as the
Commissioner of the New York City Police Department;
the New York City Police Department; Frederick Davie, in
his official capacity as the Chair of the Civilian Complaint
Review Board; and the Civilian Complaint Review Board,
                                         Respondents/Defendants.

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                   DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
                          OF THEIR MOTION TO DISMISS

                                                     JAMES E. JOHNSON
                                                     Corporation Counsel of the City of New York
                                                     Attorney for Defendants
                                                     100 Church Street
                                                     New York, New York 10007

                                                     Of Counsel:
                                                     Kami Zumbach Barker
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                                                                       v
                                  PRELIMINARY STATEMENT

                On June 12, 2020, Governor Andrew Cuomo signed the statute repealing Civil

Rights Law § 50-a (“§50-a”), allowing law enforcement disciplinary records to be open to public

inspection, under New York Freedom of Information Laws (“FOIL”). On June 17, 2020, Mayor

de Blasio announced that the City of New York would soon publish law enforcement disciplinary

records in an online searchable database. On July 14, 2020, over a month after the repeal, the

unions representing various New York City police, fire and correction personnel (hereinafter

“plaintiffs”), brought this action, pursuant to 42 U.S.C. § 1983, the New York State Constitution,

CPLR Articles 75 and 78, and breach of contract laws. Specifically, plaintiffs allege that

defendants’ determination to disclose members’ disciplinary records, including unsubstantiated,

unfounded, exonerated, and non-final charges of misconduct (hereinafter “the disputed records”

or “Unsubstantiated and Non-Final Allegations”), violated their members’ constitutional rights to

due process and equal protection, was arbitrary and capricious, and violated certain provisions of

applicable collective bargaining agreements (“CBA”) and their members’ prior settlement

agreements.


                Plaintiffs sought an order, pursuant to Rule 65 of the Federal Rules of Civil

Procedure, preventing defendants from disclosing the disputed records. See Plaintiffs’ State Court

Memo. of Law (“Pl. Memo.”) at Dkt. No. 10. Ex. 12, p. 9. On August 21, 2020, the Court denied,

in large part, plaintiffs’ motion for a preliminary injunction, finding, inter alia, that plaintiffs could

not establish a likelihood to succeed on the merits of their claims. See August 21, 2020 Decision

at Dkt. No. 216.


                Now, for reasons more thoroughly explained below, defendants move to dismiss

plaintiffs’ Complaint, in its entirely. Plaintiffs have failed to state a claim under the U.S. or N.Y.

                                                 1
Constitutions for a violation of due process and equal protection because plaintiffs receive all that

process that is due, they are not part of a protected class, and defendants have a rational basis for

treating plaintiffs’ members’ disciplinary records differently than other City employees’.

Defendants’ decision to publish the disputed records was not arbitrary and capricious but rather

made upon the rational basis of fulfilling the legislative intent of FOIL and the repeal of § 50-a.

Because Plaintiffs have not exhausted the contractual remedies provided by their relevant CBAs,

Plaintiffs cannot state a claim under CPLR Article 75 or for breach of contract. Finally, plaintiffs

lack the standing and basis to claim that, by publishing the disputed records, defendants would

breach plaintiffs’ members’ prior settlement agreements, as plaintiffs fail to allege any

incorporated guarantee of confidentiality for the underlying complaint. Accordingly, defendants

respectfully request that this Court dismiss the Complaint in its entirety.


                                   STATEMENT OF FACTS

               For a complete statement of facts, defendants respectfully refer the Court to the

Declaration of Kami Z. Barker, dated August 14, 2020, (“Barker Decl.”) and the annexed exhibits,

Dkt. No. 135, to the Declaration of Kerry Jamieson, dated August 14, 2020 (“Jamieson Decl.”),

Dkt. No. 135-22, and to the Declaration of Jonathan Darche, dated August 14, 2020 (“Darche

Decl.”) and the annexed exhibits, Dkt. No. 135-23, and Defendants’ Memorandum of Law in

Opposition to Plaintiffs’ Motion for a Preliminary Injunction, Dkt. No. 134.

                       THE REPEAL OF CIVIL RIGHTS LAW §50-A

               George Floyd’s tragic death at the hands of a Minneapolis police officer in late May

of this year, galvanized the country to respond with historic levels of public engagement and

protests, calling for criminal justice reform. In New York, the ground swell of activism for

improved police relations renewed the years-long battle to repeal § 50-a, which shrouded police

disciplinary records in secrecy for decades and helped erode public trust in law enforcement.
                                            2
Thousands of New Yorkers marched the streets demanding greater police transparency, and on

June 12, 2020, Governor Cuomo signed S8496,1 repealing § 50-a, effective immediately.

                   The repeal neither required confidentiality nor directed any other form of special

treatment to apply to Unsubstantiated and Non-Final disciplinary records. Plaintiffs, as part of a

broader coalition of law enforcement unions, objected to the proposed repeal multiple times,

including through formal testimony and a Memorandum in Opposition to the Legislature, on the

grounds that it did not want unsubstantiated or unfounded allegations publicly disclosed. See

Barker Decl. at ¶¶ 20, 23-24, 45. On the day of the bill’s passage, the issue was debated at length

on the State Assembly floor, including multiple Assembly Members, who sought to carve out an

exception in the repeal for unsubstantiated allegations. See Barker Decl. at ¶¶ 46-50 and Exhibit

“M” thereto.         Nevertheless, over these objections, without any carveout whatsoever for

Unsubstantiated and Non-Final allegations, the bill passed by an overwhelming majority in both

houses of the Legislature and is now the law of New York State.

                   On June 17, 2020, Mayor de Blasio announced that the City would begin publishing

law enforcement disciplinary records in an online searchable database, and with that, the City

ushered in a new era of greater police transparency.

                                                 ARGUMENT

                                                    POINT I

                           PLAINTIFFS FAIL TO STATE A CLAIM
                           UNDER THE FOURTEENTH AMENDMENT
                           OF THE U.S. CONSTITUTION




1
    Available at https://perma.cc/L9Q2-4H9H (last viewed on August 13, 2020).

                                                      3
                  To make a Fourteenth Amendment claim, plaintiffs must allege a personal injury,

which is traceable to defendants’ allegedly unlawful conduct and likely to be redressed by the

requested relief. See . Plaintiffs’ claims are deficient on their face and should be dismissed.

A.       Due Process

                  The Fourteenth Amendment's guarantee of procedural due process applies only

when a constitutionally protected property or liberty interest is at stake. Town of Castle Rock v.

Gonzales, 545 U.S. 748, 756 (2005). Therefore, when analyzing procedural due process claims,

the threshold issue is whether the plaintiff possessed a valid property2 or liberty interest. See ; see

also Zahra v. Town of Southfield, 48 F.3d 674, 689 (2d Cir. 1995). The Due Process Clause “does

not itself create” protectable property interests; rather property interests are “created and their

dimensions are defined by existing rules or understandings that stem from an independent source

such as state law.” McMenemy v. City of Rochester, 241 F.3d 279, 286 (2d Cir. 2001) (quotations

omitted). To demonstrate such an interest, plaintiffs must show more than a mere abstract need or

desire, but rather a legitimate entitlement to said interest. Board of Regents of State Colleges v.

Roth, 408 U.S. 564, 577 (1972). Since the repeal of § 50-a, plaintiffs’ members’ disciplinary

records are no longer categorically shielded from disclosure, and, thus, plaintiffs’ members lack

any such entitlement.

                  Plaintiffs allege reputational harm as the basis of an alleged deprivation of a liberty

interest. See ¶ 6 of Complaint, Dkt. Nos. 1, 5. But on August 21, 2020, this Court held that “a

loss of reputation without more is insufficient to establish a procedural due process claim.” See



2
  Plaintiffs do not claim, nor can they, that their members are at risk of losing a property interest without due process
under the circumstances presented in this case. In any event, for the permanent employees who possess a property
interest in their employment, any process that is due to protect such employees is provided through the disciplinary
hearing process, set forth in Section 14-115 of the New York City Administrative Code (for the uniformed ranks of
the NYPD), Section 15-113 of the New York City Administrative Code (for Firefighters and Fire Officers) and New
York State Civil Service Law Section 75 for all other members. See Locurto v. Safir, 264 F.3d 154 (2d Cir. 2001).

                                                        4
August 21, 2020 Decision, Dkt. No. 216, at 27:3-4 (citing Paul v Davis, 424 US 693, 701 & n.3

(1976)). To prevail, therefore, plaintiffs must demonstrate a “stigma-plus” claim, where courts

recognize a protected liberty interest when there is an “injury to one’s reputation (the stigma)

coupled with the deprivation of some ‘tangible interest’ or property right (the plus).” DiBlasio v.

Novello, 344 F.3d 292, 302 (2d Cir. 2003).

                  To make out this type of stigma-plus claim, “a plaintiff must show (1) the utterance

of a statement ‘sufficiently derogatory to injure his or her reputation, that is capable of being

proved false, and that he or she claims is false,’ and (2) a material state-imposed burden or state-

imposed alteration of the plaintiff’s status or rights.” See August 21, 2020 Decision, Dkt. No. 216,

at 27:17 – 28:2 (quoting Sadallah v. City of Utica, 383 F.3d 34, 38 (2d Cir. 2004); see also Lee TT

v. Dowling, 87 N.Y.2d 699, 708 (1996). Plaintiffs cannot demonstrate, nor have they pled, all of

these elements.

                  First, a CCRB disposition of “unfounded” means that the CCRB found, by a

preponderance of the evidence, that there was “sufficient credible evidence to believe that the

subject officer did not commit the alleged act.” See The Report of the Independent Panel on the

Disciplinary System of the New York City Police Department (Jan. 25, 2019) at 8–9, available at

https://perma.cc/EX3U-G8DT (last visited September 3, 2020); see also ¶ 22 of Darche Decl.3 A

CCRB finding of “exonerated” means that while the subject officer was found to have committed

the act alleged, that the officer’s actions were nonetheless determined to be lawful. See id.

Publishing the records of, or in this case the mere existence of, “exonerated” or “unfounded”



3
  All of this information is a matter of the public record, which can be found on the CCRB website, available at
https://www1.nyc.gov/site/ccrb/investigations/case-outcomes.page (last visited on September 2, 2020). Therefore,
the Court may take judicial notice of this evidence in a motion to dismiss. Missere v. Gross, 826 F. Supp. 2d 542, 553
(S.D.N.Y. 2011) ("It is well established that a district court may rely on matters of public record in deciding a motion
to dismiss."); see also United States v. Bari, 599 F.3d 176, 180-81 (2d Cir. 2010) (the Court can take judicial notice
of information provided on the Internet).

                                                       5
complaints cannot possibly “call[] into question their good name, reputation, honor, or integrity”

and cannot, therefore, implicate the officers’ constitutionally protected rights and liberties,

sufficient to trigger due process protections. Lee TT., 87 N.Y.2d at 708-09. They certainly cannot

be considered the type of “[s]tatements that denigrate the employee’s competence as a professional

and impugn the employee’s professional reputation” either. Patterson v. City of Utica, 370 F.3d

322, 330 (2d. Cir. 2004).

               With respect to the first and second element, the Complaint only alleges that the

disputed records may be false or misleading and they cannot plead, with any certainty or

particularity, that the statements are, in fact, false. See Complaint, ¶¶ 60, 69. This broad and

speculative statement is insufficient to establish a due process claim. Moreover, it is clear that the

records will have information (such as the agency’s classification of the complaint and disposition)

that would help contextualize any description of the complaint or charges provided. As this Court

upheld, “[a]ccurate descriptions of allegations and personnel actions or decisions that are made

public are not actionable, ‘even when a reader might infer something unfavorable about the

employee from these allegations.’" See August 21, 2020 Order, Dkt. 216, at 29:4-9 (quoting Wiese

v. Kelly, No. 08-CV-6348 (CS), 2009 U.S. Dist. LEXIS 82307, at *13-15 (S.D.N.Y. 2009).

               The Court went on to note,

                       This is not a case, for example, where the defendants are
                       uncritically publishing the allegations of misconduct made
                       against officers as if these allegations were true. Disclosure
                       of a record that an allegation was found to be unfounded or
                       unsubstantiated is a true statement as to the outcome of an
                       investigation of that allegation.

                       But to establish defamation under New York law, it is "well
                       settled" that the statement must actually be false. Tannerite
                       Sports, LLC v. NBC Universal News Grp., 864 F.3d 236,
                       (2d. Cir. 2017). And here, for example, a CCRB record's
                       statement that an allegation is unsubstantiated is not a false
                       statement; it is an accurate depiction of an outcome of a
                       CCRB investigation into a complaint.
                                               6
See August 21, 2020 Decision, Dkt. No. 216, at 29: 9-15; 30:4-12 (citations corrected).

               The Court held,

                       These records are also not sufficiently derogatory to
                       injure plaintiffs' reputation. … plaintiffs have not
                       established that the publication of these records will
                       cause any concrete, particularized, actual, or
                       imminent injury to their reputation. And for these
                       reasons [], they have failed to establish that any of
                       the records are likely to cause actual injury to
                       reputation.

                       Now, plaintiffs have failed to establish that these
                       records are false and they have, therefore, failed to
                       meet the stigma prong.

See id. at 31:6-13; 32:6-8.

               Even if plaintiffs could meet the stigma component of their claim, they are,

nevertheless, unable to demonstrate a loss of employment or some other tangible employment

action, sufficient to fulfill the plus prong. Plaintiffs allege that the publication of the disputed

records can “deprive[] the identified individuals of a protected liberty interest,” which “[f]or some

. . . will be a loss of employment” or “[f]or others . . . interfer[ence] with their future employment

opportunities.” See Pl. Memo., Dkt. Nos. 10-12 at 15. However, the argument that a liberty

interest arises when the government makes public statements that potentially interfere with future

job prospects is an argument that has been routinely and consistently rejected by the Second Circuit

as plainly insufficient to support a “stigma-plus” claim. See Boss v. Kelly, 306 F. App'x 649 (2d

Cir. 2009) (summary order); Valmonte v. Bane, 18 F.3d 992, 1001 (2d Cir. 1994) ("the deleterious

effects which flow directly from a sullied reputation," including "the impact the defamation might

have on job prospects" are insufficient to establish a protected liberty interest.); Sessom v. New

York State Div. of Parole, Docket No. 17-CV-6634 (CM), 2017 U.S. Dist. LEXIS 177988 at *4-

5 (S.D.N.Y. 2017) (quoting Burgos Vega v. Lantz, 596 F.3d 77, 81 (2d Cir. 2010); Adams v. N.Y.

State Educ. Dep’t, 732 F. Supp. 2d 420, 449 (S.D.N.Y. 2010).
                                             7
               Similarly, plaintiffs allege that the online publication of the disputed records would

permit “search engines, credit agencies, landlords, and potential employers [to] access [these

records]. . . for a lifetime,” “result[ing] in limitless and eternal notoriety.” Pl. Memo., Dkt. Nos.

10-12, at 16. Plaintiff’s unsupported and speculative assertion that being labeled a bad actor could

impact their members’ safety is also the sort of “typical consequence of a bad reputation” that the

Second Circuit has rejected. Boss, 306 F.App’x 649 (rejecting liberty interest claim arising from

removal of Police Officer’s firearm). Plaintiffs not only fail to establish any element of their

Fourteenth Amendment liberty interest due process claims, their reliance on theories consistently

rejected by the Second Circuit makes such claims borderline frivolous.

               On August 21, 2020, this Court held,

                       Second Circuit precedent forecloses the argument
                       that the plus prong is satisfied by a vague allegation
                       of potential loss of employment due to reputational
                       harm. … At base, vague allegations of future loss of
                       employment are another way of claiming stigmatic
                       harm.

                       Even assuming that such loss of employment, or that
                       these allegations could satisfy the standard, plaintiffs'
                       alleged harm to employment prospects is so remote
                       that it is not proof of a tangible state-imposed burden
                       concurrent with the disclosure. To meet their burden,
                       plaintiffs must do more than simply say that records
                       may lead to diminished employment prospects for
                       some vague subset of officers in the future. Again,
                       plaintiffs failed to explain why law enforcement
                       officers in charge of hiring would be incapable of
                       interpreting the records disclosed by defendants.

                       As noted repeatedly, the dispositional discussions
                       will contextualize the description of the complaint or
                       charges provided. They will allow future employers
                       to make hiring decisions by evaluating the complaint
                       and the investigation and its outcome independently.
                       And as to any claim that the publication of these
                       records may cause the immediate loss of
                       employment for some officers, plaintiffs do not
                       explain why an officer would lose their job.
                                               8
See August 21, 2020 Order, Dkt. No. 216 at 32:20-23; 33:4 – 34:1.

               Plaintiffs also allege that the effect of the repeal on existing settlement agreements

has an impermissible retroactive effect on the liberty and property interests of the officers. Pl.

Memo., p. 17-18. Plaintiffs allege that a retroactive application of the repeal only passes due

process muster when supported by “a legitimate legislative purpose furthered by rational means.”

Pl. Memo., p. 18. Plaintiffs argue that defendants’ release of the disputed records does not pass

this test because plaintiffs relied on the assurance of §50-a confidentiality when entering into these

settlements and, had they known that the records would be released, they would have vigorously

defended the allegations. But a legislative change that authorizes disclosure of existing as well as

newly created records is not “retroactive. Further, there are multiple legitimate legislative

purposes for such disclosure. The plainest is compliance with FOIL and greater transparency about

the workings of the disciplinary systems for law enforcement officers and firefighters.

               On August 21, 2020, this Court agreed, holding,

                       [P]laintiffs are essentially arguing that a state
                       legislature can never change the law, that, while not
                       even referenced in the parties' agreement, might
                       possibly impact a party's contractual rights. I do not
                       believe this to be the case, as the Supreme Court
                       recognized in the context of California law in the
                       decision of DirectTV Incorporated v. Imburgia, 136
                       S. Ct. 463 (2015).

                       And even accepting plaintiffs' arguments that the
                       settlements were negotiated with reference to
                       Section 50-a, the Court must also accept that such
                       settlements were negotiated with reference to FOIL,
                       which is, as the parties know, to be liberally
                       construed, and its exemptions narrowly tailored so
                       the public is granted maximum access to the records
                       of government. Capital Newspapers, Div. of Hearst
                       Corp. v. Whalen, 69 N.Y.2d 246 (1987).

See August 21, 2020 Order, Dkt. No. 216, at 24:11- 25:1.


                                               9
               Even assuming that plaintiffs could establish a sufficient liberty interest, they

nevertheless fail to state a claim for how the City is depriving their members of all the process that

is due. The Second Circuit has held that “the Due Process Clause of the Fourteenth Amendment

is not violated even when a state employee intentionally deprives an individual of property or

liberty, so long as the State provides a meaningful post[-]deprivation remedy.” Hellenic Am.

Neighborhood Action Comm. v. City of New York, 101 F.3d 877, 880 (2d Cir. 1996), cert. denied,

521 U.S. 1140 (1997). It is clear that the City provides a full panoply of remedies, such as pre-

deprivation disciplinary hearings for permanent employees, the opportunity to respond to

allegations throughout the course of an investigation, and the availability of Article 78 review.

Plaintiffs have not alleged otherwise, and that is all the process that is due. See Segal v. City of

New York, 459 F.3d 207, 216-217 (2d Cir. 2006); Locurto v. Safir, 264 F.3d 154, 173-174 (2d

Cir. 2001); Johnston v. Tn. of Orangetown, 562 F. App’x 39, 41 (2d Cir. 2014) (summary order)

(“existence of [an Article 78] proceeding confirms that state law afforded him adequate process to

defeat his constitutional claim”); Henderson v. New York, 423 F. Supp. 2d 129,145 (S.D.N.Y.

2006); Koehler v. New York City, Docket No. 04 Civ. 6929, 2005 U.S. Dist. LEXIS 8901

(S.D.N.Y. 2005); Ryan v. Carroll, 67 F. Supp. 2d 356, 361 (S.D.N.Y. 1999).

               Accordingly, even if plaintiffs were able to establish a constitutionally protected

liberty interest – which they cannot – their due process claims fail, as a matter of law, because the

City indisputably provides all the process that is due. Indeed, this Court agreed, finding,

                       plaintiffs fail to allege that the officers are deprived
                       of the process that is due, because in the creation of
                       the records themselves, the officers are entitled to
                       pre-deprivation        disciplinary     hearings,    the
                       opportunity to respond to allegations throughout the
                       course of the investigation, and the availability of
                       Article 78 review. So on these many bases, there is
                       not an adequate showing as to the due process claim.

See August 21, 2020 Order, Dkt. No. 216, at 34:5-12.
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B.     Equal Protection

               For their Fourteenth Amendment equal protection claim, plaintiffs allege that they

are treated differently than similarly situated employees when applying the privacy and safety

exemptions provided in Pub. Off. Law § 87. See Complaint ¶ 11 Dkt. Nos. 1, 5. Such an equal

protection claim has specifically been rejected by the Supreme Court.           In the context of

constitutional claims arising from public employment, plaintiffs are required to demonstrate that

any alleged disparate treatment was based on membership in a specific class that has been granted

legal protection. See Engquist v. Oregon Dep’t of Agric., 553 U.S. 591, 605 (2008); see also

Analytical Diagnostic Lab, Inc. v. Kusel, 626 F.3d 135, 140 (2d Cir. 2010) (“The Supreme Court’s

decision in Engquist ... eliminated class-of-one claims for government employees.”); Staskowski

v. Cty. of Nassau, 410 F. App’x 420 (2d Cir. 2011) (summary order); Conyers v. Rossides, 558

F.3d 137, 151–52 (2d Cir. 2009); Massi v. Flynn, 353 Fed. Appx. 658, 660 (2d Cir. 2009)

(summary order); Porr v. Daman, 299 Fed. Appx. 84, 86 (2d Cir. 2008).

               In reading this requirement into the equal protection clause, the Supreme Court

specifically ruled out equal protection claims challenging different applications of discretion to

different employees because permitting such would serve to constitutionalize all decisions by a

public employer concerning its employees:

                      [If] plaintiffs need not claim discrimination on the
                      basis of membership in some class or group, but
                      rather may argue only that they were treated by their
                      employers worse than other employees similarly
                      situated, any personnel action in which a wronged
                      employee can conjure up a claim of differential
                      treatment will suddenly become the basis for a
                      federal constitutional claim.

Engquist, 553 U.S. 607-608.

               Plaintiffs are attempting to constitutionalize the discretionary applications of FOIL

with respect to specific City employees. Because plaintiffs do “not allege [that they were]
                                         11
discriminated against on the basis of race, sex, national origin, or other protected classification,”

their equal protection claims must be dismissed. Conyers, 558 F.3d, 152. This Court noted that,

                        the plaintiffs concede that they are not members of a
                        protected class, such that the appropriate level of
                        scrutiny is a rational basis review. And "as a general
                        rule, the equal protection guarantee of the
                        constitution is satisfied when the government
                        differentiates between persons for a reason that
                        there's a rational relationship to an appropriate
                        governmental interest."

See August 21, 2020 Decision, Dkt. No. 216, at 34:23 – 35:5 (emphasis added)(quoting Able v.

United States, 155 F.3d, 628 (2d. Cir. 1998)).

                However, even under a rational basis review, plaintiffs’ claim would nonetheless

fail because, as set forth in Point III infra, the City has articulated a rational and non-discriminatory

basis for publishing the disputed records, which is to fulfill the legislative intent behind repealing

§ 50-a, comply with FOIL, and “help the public regain trust that law enforcement officers and

agencies may be held accountable for misconduct.” See Sponsor Memo., N.Y. Senate Bill S8496,

June 6, 2020, Barker Decl. at ¶ 39. Likewise, it would be improper to compare plaintiffs’ members

to City employees who do not work in law enforcement due to the obvious and significant

differences between those various roles. Neilson v. D'Angelis, 409 F.3d 100, 104 (2d Cir. 2005)(to

satisfy the “similarly situated” element of an equal protection claim, “the level of similarity

between plaintiffs and the persons with whom they compare themselves must be extremely high.”).

                Indeed, this Court held,

                        [P]laintiffs work in law enforcement, and the very
                        nature of their roles, vis-a-vis the public, is very
                        different from other City employees. They are not
                        similarly situated. And I believe plaintiffs conceded
                        as much at oral argument. Officers patrol the streets
                        with firearms and are authorized to use force under
                        the aegis of state power. And therefore, a state-
                        licensed medical physicist is just not similarly

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                      situated to a City-employed police officer or
                      correction officer.

                      …the City has articulated a rational and
                      nondiscriminatory basis for treating the plaintiffs
                      differently than other City employees, if it could be
                      found that these employees were similarly situated.
                      As the city and the state legislature articulated, there
                      are strong governmental interests in accountability
                      and transparency. And the role of police officers in
                      society, the unique responsibilities they carry, the
                      harms they are capable of inflicting on the public,
                      also explain why the City might choose to release
                      records about investigations into allegations of
                      misconduct, but might not proactively release similar
                      records by other city employees, such as teachers or
                      sanitation workers, who do not have similar powers.

See August 21, 2020 Decision, Dkt. No. 216, at 36:2-22. Accordingly, plaintiffs’ equal protections

claims should be dismissed.

                                            POINT II

                      PLAINTIFFS FAIL TO STATE A CLAIM
                      UNDER    THE   NEW   YORK  STATE
                      CONSTITUION

               It is well settled that “New York courts will only imply a private right of action

under the state constitution where no alternative remedy is available to the plaintiff.” Davis v.

City of New York, 959 F. Supp. 2d 324 (S.D.N.Y. 2013)(quotation and citation omitted). Here,

plaintiffs assert their due process and equal protection claims under both the New York State

Constitution and § 1983, demonstrating that plaintiffs have an alternative remedy through § 1983.

Therefore, no private right of action is available. See Raymond v. City of New York, No. 15 CV

6886 (LTS) (HBP), 2017 U.S. Dist. LEXIS 31742 at *25 (S.D.N.Y. Mar. 6, 2017) (dismissing

plaintiffs’ state constitutional claims as superfluous where they were also brought under § 1983).

Therefore, these claims should be dismissed.



                                               13
                                                     POINT III

                            PLAINTIFFS            ARTICLE            78     MUST         BE
                            DISMISSED

                  Animating their Article 78 claim, plaintiffs allege that the “release of []

Unsubstantiated and Non-Final Allegations would…constitute errors of law and be arbitrary and

capricious agency action as an unwarranted and irreversible invasion of the right to privacy.” See

¶ 8 of Complaint at Dkt. Nos. 1, 5. That is patently false. Notably, at the outset, all CCRB

determinations, including unsubstantiated findings, are final agency determinations4 and,

therefore, do not fall within plaintiffs’ objections to “non-final allegations.” See Darche Decl.5 at

¶ 24. That aside, however, plaintiffs fully fail to state a cause of action.

                  It is well settled that “[i]n reviewing an administrative agency determination,

[courts] must ascertain whether there is a rational basis for the action in question or whether it is

arbitrary and capricious.”          Matter of Gilman v. New York State Division of Housing and

Community Renewal, 99 NY2d 144, 149 (2002). Tellingly, a court may not substitute its judgment

for that of the board or body it reviews unless the decision under review is “arbitrary and

unreasonable and constitutes an abuse of discretion.” In the Matter of Pell v. Bd. of Educ., 34



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  In contrast, a non-final agency determination is not reviewable in court. See Art. 78, CPLR Sec. 7801. Given that
plaintiff PBA itself has challenged CCRB determinations, through Article 78, plaintiffs plainly recognize the finality
of the CCRB’s determinations, which include findings of, inter alia, an “unsubstantiated” complaint of misconduct.
See e.g. Patrick Lynch, et. al. v. The New York City Civilian Complaint Review Board, Index No. 152235/2018 (Sup.
Ct. N.Y. Cty. 2018); Matter of Daniel Pantaleo v. New York City Civilian Complaint Review Board, Index No.
100641/19 (Sup. Ct. N.Y. Cty. 2019), decisions of which are annexed to the Barker Decl. as Exhibit “P.”

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  The Court may consider the record when deciding the instant motion to dismiss on plaintiffs’ Article 78 petition.
See Franza v. Stanford, No. 16-CV-7635, 2019 U.S. Dist. LEXIS 18448, *7, n.3 (S.D.N.Y. February 5, 2019) (citing
Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991) (finding that the district court could consider
documents, which the plaintiffs had notice of and were "integral" to their claim, in ruling on a motion to dismiss even
though those documents were not incorporated into the complaint by reference); Pani v. Empire Blue Cross Blue
Shield, 152 F.3d 67, 75 (2d Cir. 1998) ("It is well established that a district court may rely on matters of public record
in deciding a motion to dismiss under Rule 12(b)(6)..."); Yan Won Liao v. Holder, 691 F. Supp. 2d 344, 352 (E.D.N.Y.
2010) (taking judicial notice of "public documents filed in connection with" proceedings in a different court on a
motion to dismiss was proper)).

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NY2d 222, 230-231 (1974). Further, “courts must defer to an administrative agency’s rational

interpretation of its own regulations in its area of expertise.” Peckham v. Calogero, 12 NY3d 424,

431 (2009).

                 The centerpiece of plaintiffs’ claim under Article 78 is an assertion that “[i]t is an

error of law and arbitrary and capricious for the [Defendants] to change decades of agency practice

on the protections afforded Unsubstantiated and Non-Final Allegations under the pretext of the

repeal of § 50-a.” See ¶ 8 of Complaint. However, now that § 50-a has been repealed, for the first

time in decades, these disciplinary records are subject to FOIL, which presumes disclosure. Data

Tree, LLC v. Romaine, 9 N.Y.3d 454, 463 (2007)(FOIL compels “disclosure, not concealment.”).

Moreover, “the party seeking an exemption from disclosure has the burden of proving entitlement

to the exemption.” Mulgrew v. Bd. of Educ. of City Sch. Dist. of City of New York, 928 N.Y.S.2d

701, 702 (1st Dep’t 2011). Plaintiffs wholly fail to meet their burden. Aside from the now defunct

§ 50-a, plaintiffs fail to point to a single statute mandating the confidentiality of the disputed

records. Fulfilling the legislative intent of FOIL and the repeal of § 50-a is an amply rational basis

for publishing the disputed records. Therefore, plaintiffs Article 78 claim should be dismissed.

               Along with the repeal of § 50-a, the Legislature also amended Pub. Off. Law § 89

to require the redaction of certain information in law enforcement disciplinary histories, including,

an officer’s medical history, home addresses, personal telephone numbers, personal e-mail

addresses, and mental health services, prior to disclosure. Pub. Off. Law § 89 (2-b). Agencies

may also redact records pertaining to technical infractions, such as a minor violation of the Patrol

Guide concerning officer appearance, for example. Id. Further, the Legislature considered and

rejected plaintiffs’ arguments for exempting unsubstantiated, unfounded, and exonerated

allegations from disclosure. See Barker Decl. ¶¶ 20, 23-24, 46-50. In fact, it declined to exempt,

limit, or even define these records to ensure full transparency. See id.

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                Thus, the public disclosure of disciplinary records – a disclosure that plaintiffs seek

to impede – fully accords with the legislative purpose of the repeal of § 50-a and the concurrent

amendment of Pub. Off. Law § 89. That galvanizing legislative purpose is captured in the

sponsor’s memorandum that accompanied the senate bill, repealing § 50-a:

                        FOIL already provides that agencies may redact or
                        withhold information whose disclosure would
                        constitute an unwarranted invasion of privacy.
                        Recent changes to the Civil Service Law have
                        created additional, non-discretionary protections
                        against the release of certain sensitive information
                        such as contact information. Furthermore, this bill
                        adds additional safeguards in the FOIL statute.
                        Finally, courts have the ability to protect against
                        improper cross-examination and determine if police
                        records are admissible in a trial, without the denial of
                        public access to information regarding police activity
                        created by § 50-a. The broad prohibition on
                        disclosure created by § 50-a is therefore unnecessary
                        and can be repealed as contrary to public policy.

                        Repeal of § 50-a will help the public regain trust that
                        law enforcement officers and agencies may be held
                        accountable for misconduct.

Sponsor Memo, S8496, June 6, 2020, Barker Decl. at ¶ 39.

                Therefore, the Legislature’s failure to exclude from public release unsubstantiated

or non-final allegations in law enforcement disciplinary records clearly evidences that it was the

legislature’s intent that they be disclosed. Matter of Collins v Dukes Plumbing & Sewer Serv.,

Inc., 75 AD3d 697, 699-700 (3d Dep’t 2010); see also Bright Homes v. Wright, 8 NY2d 157, 162,

168 (1960)(“Courts are not supposed to legislate under the guise of interpretation, and in the long

run it is better to adhere closely to this principle and leave it to the Legislature to correct evils if

any exist.”); People v. Olah, 300 NY 96, 102 (1949)(“A statute must be construed and applied as

it is written by the Legislature, not as some judges may believe it should have been written.”);

Matter of Kittredge v. Planning Bd. of Town of Liberty, 57 AD3d 1336, 1339 (2008) (“In

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construing a statute, a court must attempt to harmonize all its provisions and to give meaning to

all its parts, considered as a whole, in accord with legislative intent.

                 Plaintiffs suggest that the privacy and safety exemptions in Pub. Off. Law § 87

somehow require mandatory confidentiality for unsubstantiated and non-final allegations towards

law enforcement. See ¶ 123 of Complaint at Dkt. Nos. 1, 5 (“Because the pre-existing privacy

exceptions plainly apply to Unsubstantiated and Non-Final Allegations, any decision to release

this data in full would necessarily [be] an error of law.”) However, these exceptions are plainly

permissive.6 The statute reads, “[e]ach agency shall, in accordance with its published rules, make

available for public inspection and copying all records, except that such agency may deny access

to records or portions thereof that…” Pub. Off. Law § 87 (emphasis added). Capital Newspapers,

67 N.Y.2d at 567 (1986) (“the language of the exemption provision contains permissive rather

than mandatory language, and it is within the agency's discretion to disclose [] records, with or

without identifying details, if it so chooses.”); see also Short v. Bd. of Managers of Nassau Cty.

Med. Ctr., 57 N.Y.2d 399, 404 (1982).

                 Moreover, after the repeal of § 50-a, on July 27, 2020, the New York State

Committee on Open Government (“Committee”) issued an advisory opinion on this subject, which

plaintiffs incongruously argue bolsters their claims. See Advisory Opinion attached to Dkt. No.

75 as Exhibit “C.” However, the Committee opined that agencies could permissively disclose or

withhold unsubstantiated and non-final law enforcement disciplinary records at their discretion.

Id. Additionally, while advisory opinions “are not binding authority, they may be considered on

the strength of their reasoning and analysis.” Matter of TJS of N.Y., Inc. v. New York State Dep’t


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  Moreover, plaintiff PBA president, Patrick Lynch, admitted that these exceptions are permissive when testifying for
the Legislature on October 24, 2019. See Testimony of Patrick Lynch, annexed to Barker Decl. as Exhibit “J.”



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of Taxation & Fin., 89 A.D.3d 239, 242 n.1 (3d Dep’t 2011). To better understand the Committee’s

reasoning and analysis, it is important to examine their earlier 2018 Report—prior to the repeal of

§ 50-a— where it noted that “it is ironic that public employees having the most authority over

peoples’ lives [referring to police] are the least accountable relative to disclosure of government

records.” See the Committee’s 2018 Annual Report annexed to the Barker Decl. as Exhibit “B.”

               For an agency to assert discretionary privacy exceptions to disclosure under FOIL,

it must “balance[e] the privacy interests at stake against the public interest in [the] disclosure of

the information.” See Matter of Harbatkin v. New York City Dept. of Records & Info. Servs., 19

N.Y.3d 373, 380 (2012)(“a court must decide whether any invasion of privacy . . . is unwarranted

by balancing the privacy interests at stake against the public interest in [the] disclosure of the

information.”). Defendants’ determination is entirely supported by the legislative intent.

               Plaintiffs further allege that defendants are breaking an “established practice on the

protections afforded Unsubstantiated and Non-Final Allegations” and, that such a break with past

policy is arbitrary absent an explanation of the reason for the change. But plaintiffs cannot

demonstrate that defendants ever had a practice to categorically assert FOIL’s privacy or safety

exemptions to unsubstantiated or non-final allegations. Indeed, defendants testified, through Fed.

R. Civ. P. 30(b)(6) witnesses, that FOIL requests are evaluated on a case-by-case basis, with

exemptions applied only as appropriate. See Barker Decl. at ¶¶ 62, 64, 66, and 68. Defendants

further testified that nothing requires a categorical or reflexive application of these exemptions for

categories of records. See Barker Decl. at ¶¶ 63, 65, 67, and 69.

               Plaintiffs’ only support for the proposition that defendants ever had such a practice

is to cite to two cases, where the CCRB asserted the privacy exception, in addition to § 50-a, with

respect to unsubstantiated cases. However, neither Matter of Hughes Hubbard & Reed LLP v.

Civilian Complaint Review Bd., 53 Misc. 3d 947 (Sup. Ct., Kings Cnty. 2016) nor Luongo v.

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Records Access Off., 150 A.D.3d 13, 16 (1st Dep’t 2017) note the existence of any such policy,

and the FOIL requests that they relate to date back to 2015 and 2014 respectively. See Jamieson

Dec. ¶ 13. In addition, for the past several years, the CCRB has not relied on the case disposition

(such as unsubstantiated, unfounded, or exonerated) as a basis for asserting the privacy exemption

in response to a FOIL request for officer CCRB histories or other documents. Id. ¶¶ 13, 17. Two

cases, involving requests from 2014 and 2015, do not suggest the existence of any categorical

policy even at that time, let alone in recent years.

                While the CCRB has asserted the privacy exemption in response to certain FOIL

requests in recent years, it explained that its basis for doing so was unrelated to the case disposition.

Thus, the CCRB asserted (and continues to assert) the privacy exception in response to FOIL

requests calling for documents that include civilian names (other than the requester’s), or that

include private details regarding an incident. Thus, even prior to the repeal of § 50-a, the CCRB

did not assert a privacy exemption to bar disclosure of officer history reports related to truncated,

unsubstantiated, exonerated, or unfounded complaints of misconduct. See ¶17 of the Jamieson

Decl. Plaintiffs’ claim of a recent break with past established practice is baseless.

                In addition, while there has been no change in policy, the CCRB has explained that

recent events provide additional support for its current practice of not asserting the privacy

exemption with regard to complaints or dispositions in unsubstantiated, exonerated, or unfounded

cases. As CCRB notes, “the increasingly intense public sentiment regarding transparency on

police disciplinary matters, culminating in the repeal of Civil Rights Law § 50-a without an

exception carved-out for pending, unsubstantiated, exonerated, and unfounded cases, is evidence

of the tremendous public interest in this information, particularly for officer histories and

complaint reports. The Legislature’s decision to repeal the law only reinforces our judgment not



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to invoke the privacy exception for those records and to only apply the exception on a case-by-

case basis.” See Jamieson Decl. ¶ 25.

               Finally, it is black letter law in New York that there are no categorical exemptions

from disclosure under FOIL for particular types of documents. Gould v. New York City Police

Department, 89 N.Y.2d 267, 275 (1996) (“blanket exemptions for particular types of documents

are inimical to FOIL’s policy of open government”); Police Benevolent Assn. v. State of New

York,145 A.D.3d 1391, 1392 (3d Dept. 2016) (“Public Officers Law §87(2)(b) permits an agency

to deny access to records of portions thereof, if disclosure ‘would constitute an unwarranted

invasion of privacy.’ The statute does not, however, categorically exempt such documents from

disclosure.”); Fink v. Lefkowitz, 47 N.Y.2d 567, 571 (1979)(An agency that seeks to invoke an

exemption, must therefore “articulate a particularized and specific justification' for not disclosing

requested documents.”)

               Therefore, defendants’ decision to comply with FOIL and disclose the disputed

records was not arbitrary and capricious, and their Article 78 petition should be denied. Indeed,

this Court agreed on August 21, 2020 and held,

                       [T]he legislature thoroughly considered and rejected
                       plaintiffs' arguments for exempting unsubstantiated,
                       unfounded, and exonerated allegations from
                       disclosure. And as evidence that the legislature
                       considered plaintiffs' concerns about privacy and
                       safety, they made a reasoned determination to enact
                       the provisions additional to the New York Public
                       Officers' Law, which requires the redaction of certain
                       information in law enforcement disciplinary
                       histories, including a medical history, home address,
                       personal telephone number, personal email address,
                       and mental health service, and that that was the
                       correct balance to strike. The legislature also added a
                       provision permitting agencies to redact records
                       pertaining to technical infractions. And so I'm
                       entirely unpersuaded that the repeal itself was
                       arbitrary or capricious.

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                           But "in reviewing an administrative agency
                           determination, courts must ascertain whether there is
                           a rational basis for the action in question or whether
                           it is arbitrary and capricious.” Matter of Gilman v.
                           New York State Division of Housing and
                           Community Renewal, 99 N.Y.2d 144 (2002).

                           On this record, I will not find that the NYPD's and
                           the CCRB's planned disclosures, in light of the repeal
                           of 50-a, are arbitrary and capricious. Rather, it
                           appears that the planned disclosures accord with the
                           legislative purposes of both the repeal of 50-a, the
                           concurrent amendments to Public Officers' Law,
                           Section 89, and FOIL.

See August 21, 2020 Decision, Dkt. No. 216, at 37:12-25; 38:5-20 (citations corrected).

                                                 POINT IV

                           THE COURT HAS DECIDED PLAINTIFFS
                           ARTICLE   75  PETITION   AND  ANY
                           REMAINING    CLAIMS    SHOULD  BE
                           DISMISSED

                   Plaintiffs contend that they have the contractual right to have exonerated and/or

unfounded “investigative reports” removed from their personnel files. See Pl. Memo. at 8.

However, plaintiffs misstate the applicable CBA provisions. Each provision that exists on the

matter7 only grants the right of removal upon request8 and solely from an officer’s personnel file.

That right does not create an entitlement to remove the investigative reports or the actual complaint

and allegation from the defendants’ own records in toto, much less from the public domain.

Indeed, this Court agreed, finding that

                           this is not a grievance to be arbitrated at all. This is
                           not a situation, as plaintiffs claimed at oral argument,
                           where the Court would be nullifying relief an



7
 Section 7(c) of the PBA, SBA, and LBA CBAs. Section 6 of the CEA CBA. Section 11 of COBA. Section 9 of UFA
and UFOA. The DEA CBA is entirely silent on the matter.

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    The UFA and UFOA CBAs grant automatic expungement from personnel files.

                                                   21
                           arbitrator might be able to provide because the relief
                           sought is simply nowhere to be found in the CBA.

See Transcript of the August 21, 2020 Order, Dkt. No. 216 at 20:18-22.

                  Finally, plaintiffs contend that the disclosure of disputed records would violate their

members collectively bargained-for rights to “petition the Police Commissioner to expunge the

records of certain cases heard in the Trial Room where the disposition of the charge at trial or on

review or appeal is other than ‘guilty,’ after 2 years have passed.” See Complaint at ¶ 54.

However, once again, plaintiffs misstate the applicable CBA provisions, which only exist in the

PBA, SBA, and LBA CBAs. See Barker Decl. at Exhibit “N” at § 8. Under these CBAs, a member

may only seek expungement “of the record of the case” for “Schedule A” violations9 two years

after a disposition of anything but “guilty” in the Trial Room or on appeal. See Barker Decl. at

Exhibit “N” at § 8.

                  But this Court has already preliminary enjoined defendants from disclosing records

relating to “Schedule A” violations where PBA, SBA, and LBA members of service can still assert

their bargained-for right, under Section 8 of their CBAs, to request “expungement of the record of

the case.” See Transcript of the August 21, 2020 Order, Dkt. No. 216 at pp. 21-23. That

preliminary injunction in aid of arbitration, which defendants accept, is all the relief the Court may

grant under Article 75. Thus, defendants’ motion is directed at plaintiffs’ remaining claims under

Article 75, for which the Court properly denied relief and should now be dismissed.

                                                    POINT V

                           PLAINTIFFS FAIL TO STATE A CLAIM OF
                           BREACH OF CONTRACT


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  “Schedule A” violations are minor patrol guide violations, such as failure to have identification and reporting late
for duty. See Transcript of August 18, 2020 Preliminary Injunction Hearing, at Dkt. No. 211, at 53:1-7; 54:1-4; see
also NYPD Patrol Guide available at https://www1.nyc.gov/assets/nypd/downloads/pdf/public_information/public-
pguide1.pdf (last viewed on September 1, 2020) at 438.

                                                      22
                 Plaintiffs allege that defendants would violate their members’ settlement

agreements over charges of misconduct by disclosing the disputed records,10 which might relate to

those allegations or charges. They allege that had they known the underlying allegations might

become public, they might have defended themselves against disciplinary charges more

vigorously. See Complaint at ¶ 7, 62, 65.

A.      Plaintiffs Lack Standing to Bring a Breach of Contract Claim

                 As an initial matter, plaintiffs lack the standing to assert these claims on behalf of

their members. Only parties to a contract have standing to assert a breach of contract claim. Heath

v. Stephen Banks, 692 Fed. Appx. 60, 60-61 (2d Cir. 2017)(“[T]he plaintiff generally must assert

his own legal rights and interests, and cannot rest his claim to relief on the legal rights or interests

of third parties.”); see also Empire Volkswagen, Inc. v. World-Wide Volkswagen Corp., 627 F.

Supp. 1202, 1212 (S.D.N.Y. 1986), aff'd, 814 F.2d 90 (2d Cir. 1987); Capital Nat'l Bank of New

York v. McDonald's Corp., 625 F. Supp. 874, 883 (S.D.N.Y. 1986).

B.      Plaintiffs’ Complaint Must Be Dismissed Because Plaintiffs Failed to Exhaust Their
        Contractual Remedies

                 Plaintiffs’ CBAs contain grievance and arbitration procedures to resolve disputes,

such as these. Plaintiffs cannot proceed in any court on a breach of contract claim where their

CBAs each contain a provision to arbitrate disputes arising under those agreements. The

Legislature has recognized the strong policy favoring internal grievance mechanisms and the

finality of the grievance process in public collective bargaining agreements. Bd. of Educ. v.

Ambach, 70 N.Y.2d 501, 509-10 (1987), cert denied sub nom., Margolin v. Bd. of Educ., 485 U.S.




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    To the extent that plaintiffs argue that disclosure of unsubstantiated, unfounded, exonerated, and non-final
allegations would violate their members’ past settlement agreements: “unsubstantiated and non-final” allegations of
misconduct would never be disputed in the first place, let alone the need to defend or settle them. Never mind that
settlements, by their very nature, are final.

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1034 (1988). Accordingly, in New York, a union and its members must first exhaust the remedies

provided in the applicable collective bargaining agreement covering that employee before

proceeding to court. Cantres v. Bd. of Educ., 145 A.D.2d 359, 360 (1st Dep’t 1988)(citing

Plummer v. Klepak, 48 N.Y.2d 486, 489 (1979), cert. denied, 445 U.S. 952 (1980)); Hall v. Town

of Henderson, 17 A.D.3d 981, 982 (4th Dep’t), lv. to appeal den., 5 N.Y.3d 714 (2005).

               The Court of Appeals has repeatedly recognized that the interests of all parties to

collective bargaining are served through the grievance procedures and, thus, once in place, those

procedures should not be undermined. Ambach, 70 N.Y.2d at 509. Because the parties’ CBAs

bind plaintiffs to its terms, the instant dispute must be pursued through the grievance and

arbitration processes contained within those CBAs, not in this or any other court.

C.     Plaintiffs’ Complaint Must Be Dismissed for Failure to State a Claim

               Plaintiffs further argue that such a disclosure would make defendants in breach of

their plaintiffs’ members’ settlement agreements because those agreements were entered into while

§ 50-a was in effect and, thus, necessarily “include[d] the confidentiality protection provided by §

50-a.” Pl. Memo. at 21-22; see also ¶ 65 of the Complaint. In effect, the unions are making the

remarkable claim that settlements with a city agency rendered § 50-a immutable and FOIL

inoperable as to all records concerning the settled charges.

               This claim is all the more preposterous because the unions do not allege that the

referenced settlements included any language about document disclosure, let alone allege that they

incorporated § 50-a or the confidentiality requirements thereof. Everyone—contracting parties

included—is presumed to understand that state law is subject to change by act of the Legislature.

Contracting parties rarely, if ever, succeed in limiting the state’s sovereign power to legislate even

where, unlike here, they are entered into by state agencies and include language that could be read

as purporting to do so. Doe v. Pataki, 481 F.3d 69 (2d Cir. 2007). There’s certainly no basis for

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such a claim against a city agency, especially one where plaintiffs cite no contractual language

even hinting that state law might be frozen in place, if that were possible.

               Plaintiffs rely on Skandia America Reinsurance Corp. v. Schenck, 441 F. Supp. 715

(S.D.N.Y. 1977) to support the proposition that “[the] law, ‘in force at the time’ of the settlement

agreements, is ‘a part of the contract.’” See id. at 724. However, as previously mentioned in Part

I infra, this Court noted that their reliance upon this case was entirely misplaced and wholly

inapplicable to the instant case. Indeed, the Court held that the “settlements were [also] negotiated

with reference to FOIL,” and, therefore, defendants have no authority to “prohibit public access to

such records.” See August 21, 2020 Order, Dkt. No. 216, at 24:11- 25:22 (citation corrected).

Therefore, these claims should be dismissed.

                                         CONCLUSION

               For the foregoing reasons, the Court should dismiss plaintiffs’ Complaint in its

entirety and grant such further relief as the Court deems just and proper.

Dated:         New York, New York
               September 4, 2020


                                               JAMES E. JOHNSON
                                               Corporation Counsel of the
                                                 City of New York
                                               Attorney for Defendants
                                               100 Church Street
                                               New York, New York 10007
                                               646-960-1103
                                               kbarker@law.nyc.gov




                                               By:    ____/s/__________________________
                                                      Kami Z. Barker
                                                      Assistant Corporation Counsel




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